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                               ATTACHMENT A
                            Property to Be Searched

      Records and information within the possession, custody, or control of T-Mobile,

a wireless telephone provider headquartered at 4 Sylvan Way, Parsippany, New

Jersey 07054, associated with the cellular telephone assigned call number 616-308-

1500 (the “Target Phone”). The Carrier is also to disclose records about the location

of the Target Phone if it is subsequently assigned a different call number.

      This Warrant also serves as a Pen Register order under 18 U.S.C. § 3123. The

Court makes the following findings: Nathanael WILSON is the person to whom the

pen register or trap and trace device is to be attached/applied and who is the subject

of the criminal investigation; 616-308-1500 is the phone number to which the device

is to be attached; and violations of 21 U.S.C. § 841(a)(1), Distribution or Possession

with Intent to Distribute a Controlled Substance, and 18 U.S.C. § 922(g)(1), Felon in

Possession of a Firearm (hereinafter referred to as the “Target Offenses”), are the

offenses to which information relates; and the attorney for the government has

certified to this Court that the information likely to be obtained by the installation

and use of the pen register or trap and trace device and the location information

sought are relevant to an ongoing criminal investigation by the ATF.

      This warrant also authorizes the use of the electronic investigative technique

described in Attachment B to identify the location of Target Phone.
